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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER DENYING CERTAIN
                                                                         10   This Order Relates To:                  )   MATTERS AS MOOT
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14        The Court turns now to four matters ripe for disposal.
                                                                         15        ECF No. 3200 is a Report and Recommendation ("R&R") by Special
                                                                         16   Master Vaughn R. Walker, United States District Judge (Ret.).            The
                                                                         17   Court had ordered that no responsive briefing would be permitted
                                                                         18   until the Court directed otherwise.         See ECF No. 3376.      However,
                                                                         19   upon review of the underlying R&R, the Court finds the matter is
                                                                         20   MOOT and accordingly DENIES the R&R and underlying motion.
                                                                         21        ECF No. 3818 is another R&R, discussing deadlines for
                                                                         22   preliminary approval of class action settlements, deferring hearing
                                                                         23   and decisions on pending motions for summary judgment, and granting
                                                                         24   leave to Sharp entities to seek reconsideration of prior orders
                                                                         25   denying them additional time to opt out of the direct purchaser
                                                                         26   plaintiff ("DPP") class.     The Court has already reviewed almost all
                                                                         27   preliminary class action settlements, and would welcome a timely
                                                                         28   settlement between Mitsubishi defendants and the DPPs.             If
                                                                               Case 3:07-cv-05944-JST Document 4153 Filed 10/28/15 Page 2 of 2




                                                                          1   deadlines are necessary, the Court will announce them.             The Court
                                                                          2   has also made its own plans clear with respect to timing of
                                                                          3   decisions on motions, in part based on the advice offered by the
                                                                          4   Special Master in this R&R.      See, e.g., ECF No. 3969 at 9-10.
                                                                          5   Finally, Sharp's concern over opting out of the DPP class has been
                                                                          6   resolved.   Therefore, the prior orders of the Court stand, and
                                                                          7   without disagreeing with any of the contents of the R&R at ECF No.
                                                                          8   3818, the R&R is nonetheless deemed MOOT and accordingly DENIED.
                                                                          9        ECF Nos. 2751 and 3214 are motions for extensions related to
                                                                         10   matters which have passed.     Therefore, the Court finds both MOOT
                               For the Northern District of California
United States District Court




                                                                         11   and accordingly DENIES the motions.
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                                                                         13        IT IS SO ORDERED.
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                                                                         15        Dated: October 28, 2015
                                                                         16                                      UNITED STATES DISTRICT JUDGE
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